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                                                                                                                                                                                       9/15/2021

                                                                                                                                                                   J.D. POWER Used Cars/Trucks

 Vehicle Information
   Vehicle:                                   2008 Honda CR-V Utility 4D EX-L 4WD 2.4L I4
   Region:                                                                      Mountain
   Period:                                                           September 15, 2021
   VIN:                                                             5J6RE48738L047092
   Mileage:                                                                      157,500
   Base MSRP:                                                                    $26,700

 J.D. POWER Used Cars/Trucks Values
                                                                                          Base                     Mileage Adj.                            Option Adj.        Adjusted Value

  Clean Loan                                                                         $6,025                                      N/A                                   N/A           $6,025




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